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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA,
                                                   Case No. 1:15-cr-00022-BLW
                       Plaintiff,
                                                  MEMORANDUM DECISION AND
         v.                                       ORDER

  HORACIO LINARES,

                       Defendant.


       The Court has before it Defendant Linares’s Motion to Withdraw Guilty Plea

(Dkt. 492). The Court conducted a hearing on the motion on September 7, 2016 and now

issues the following decision.

       The standard in the Ninth Circuit for withdrawal of a guilty plea is fairly well

established. After the court accepts a guilty plea, but before it imposes sentence, a

defendant may withdraw the plea if “the defendant can show a fair and just reason for

requesting the withdrawal.” Fed. R. Crim. P. 11(d)(2)(B). The burden is on the defendant

to show the fair and just reason. United States v. Ortega-Ascanio, 376 F.3d 879, 883 (9th

Cir.2004). Fair and just reasons include inadequate Rule 11 plea colloquies, newly

discovered evidence, intervening circumstances, or any other reason for withdrawing the

plea that did not exist when the defendant entered his plea. United States v. McTiernan,

546 F.3d 1160, 1167 (9th Cir.2008). Notably, the Ninth Circuit has indicated that a




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defendant cannot withdraw his plea because he realizes that his sentence will be higher

than he had expected.” United States v. Nostratis, 321 F.3d 1206, 1211 (9th Cir. 2003).

       A review of the transcript of the change of plea hearing1, plus the evidence and

argument presented at the hearing on the motion to withdraw, indicate that the defendant

has not met his burden. He gives a two-part argument for wanting to withdraw his guilty

plea – the recommended guideline range is above what he expected it to be, and he

speaks very little English so he did not fully understand the agreement.

       The recommended guideline range is based on facts that were contained in an

earlier copy of the plea agreement which had been translated into Spanish (written) and

provided to Linares. By his own testimony, he had a week or two to review that plea

agreement. The only change made to the final plea agreement was the removal of one

sentence at the request of Linares. The removed sentence stated a specific amount of

controlled substance which the parties would agree was distributed by Linares. That

number would have resulted in a specific base offense level. Linares wanted it removed

and it was removed.

       Linares then signed the plea agreement without that one sentence. The signed plea

agreement contains language indicating that it was read to him by an interpreter, that he

carefully reviewed every part of the agreement with his attorney, that he discussed all of

his rights with his attorney, and that no other promises or inducements had been made to




       1
           The change of plea hearing was conducted by visiting District Judge Dee Benson from the
District of Utah. I reviewed the official transcript of that hearing because I did not conduct it.

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him. Plus, at the change of plea hearing he stated, under oath, that he had discussed the

plea agreement with his attorney. And he agreed, again under oath, with the

Government’s factual basis for the crime, after hearing it from the interpreter.

       Under these circumstances, the Court finds that Linares participated in his plea

negotiations, and willingly signed a plea agreement he understood. His testimony at the

change of plea hearing does nothing to change that. In fact, his testimony was more

inconsistent than anything. He testified that he did not sign the initial version of the plea

agreement because he was “not in agreement with any of the terms” of it. Yet, he later

signed a plea agreement that was identical to the initial version, except for one sentence

that had been removed at his request. He then testified that he wanted the offense level

specified in the plea agreement – but it is undisputed that he is the one who wanted it

removed. Clearly, Linares and the Government negotiated about a base offense level,

could not agree on one, and ultimately agreed to a plea agreement which did not contain

an agreed upon base offense level. That Linares did not get everything he wanted in the

plea agreement – but signed it after fully reviewing it in Spanish and with an interpreter –

and ultimately received a recommended base offense level he did not want, is not

grounds for withdrawal of the guilty plea. As explained above, a defendant cannot

withdraw his guilty plea because his sentence will be higher than he expected. Nostratis,

321 F.3d at 1211. Linares has not shown “a fair and just reason for requesting the

withdrawal.” Fed. R. Crim. P. 11(d)(2)(B). Accordingly, the Court will deny the motion

and set this case for sentencing.



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                                   ORDER

     IT IS HEREBY ORDERED:

     1. Defendant Linares’s Motion to Withdraw Guilty Plea (Dkt. 492) is DENIED.




                                           DATED: September 21, 2016


                                           _________________________
                                           B. Lynn Winmill
                                           Chief Judge
                                           United States District Court




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